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 6
                                   UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8    TROY BENSON, an individual,                       Case. No.: 2:21-cv-01928-RFB-BNW
 9
                      Plaintiff,
10
               vs.
11
12
      LAS VEGAS METROPOLITAN POLICE                     STIPULATION AND ORDER TO
13    DEPARTMENT, in its official capacity; and         CONTINUE AND RESET 01/17/2022
      JOSEPH LOMBARDO, individually and in              EARLY NEUTRAL EVALUATION
14
      his official capacity as Sheriff of the Las       SESSION [ECF No. 20]
15    Vegas Metropolitan Police Department,
                                                        (FIRST REQUEST)
16                    Defendants.
17            Plaintiff TROY BENSON, and Defendants LAS VEGAS METROPOLITAN
18   POLICE DEPARTMENT AND JOSEPH LOMBARDO (collectively “Parties”) by and
19   through their respective counsel, hereby stipulate to the following:
20            IT IS HEREBY STIPULATED that, at the initiation of Plaintiff’s undersigned
21   counsel, the Early Neutral Evaluation Session which is currently set for January 17, 2022 at
22   9:00 a.m. by ECF No. 20 before United States Magistrate Judge Daniel J. Albregts be vacated
23   due to the unavailability of Plaintiff Troy Benson.
24            IT IS FURTHER STIPULATED that the following five (5) alternative dates have
25   been confirmed by all parties and their counsel to be available for rescheduling the Early
26   Neutral Evaluation Session at the Court’s convenience:
27            1.      February 7, 2022;
28            2.      February 8, 2022;


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 1            3.      February 9, 2022;
 2            4.      February 10, 2022; and
 3            5.      February 14, 2022.
 4            With this resetting, the parties will be submitting their confidential written Early
 5   Neutral Evaluation statements for the Court’s in camera review by February 1, 2022, and
 6   agree to comply with all other aspects of the Court’s Order Scheduling the Early Neutral
 7   Evaluation (ECF No. 20.)
 8            This request is made in good faith and is not sought for any improper purpose or
 9   for the purpose of delay.
10            IT IS SO STIPULATED.
11   DATED this 18th day of November, 2021.         DATED this 18th day of November, 2021.
12   MCLETCHIE LAW                                  MARQUIS AURBACH COFFING
13
     /s/ Margaret A. McLetchie                      /s/ Nicholas D. Crosby
14   Margaret A. McLetchie, NBN 10931               Nicholas D. Crosby, NBN 8996
     Anjan Gewali, NBN 14054                        10001 Park Run Drive
15   602 South Tenth Street                         Las Vegas, Nevada 89145
     Las Vegas, NV 89101                            Attorney for Defendants Las Vegas
16
     Attorneys of Plaintiff Troy Benson             Metropolitan Police Department and Joseph
17                                                  Lombardo

18
19                                          ORDER
        IT IS THEREFORE ORDERED that           the
                                           IT IS SOearly neutral evaluation session is
                                                    ORDERED.
20      rescheduled for Monday, February 7, 2022 at 10:00 a.m. The parties shall
21      submit their confidential written early neutral evaluation statements by
        February 1, 2022. All other provisions of the court's previous order (ECF
22      No. 20) regarding the ENE remain in effect.
23
24
25                                          UNITED
                                            DANIEL STATES MAGISTRATE JUDGE
                                                   J. ALBREGTS
26                                          UNITED STATES MAGISTRATE JUDGE
27                                          DATED:
                                            DATED: November 19, 2021
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